 8:06-cr-00271-LSC-TDT          Doc # 97     Filed: 01/10/07      Page 1 of 2 - Page ID # 243




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                            )
                                                     )             8:06CR271
                      Plaintiff,                     )
                                                     )           REPORT AND
       vs.                                           )
                                                     )      RECOMMENDATION
RICARDO VILLA SOSA,                                  )
                                                     )         ON GUILTY PLEA
                      Defendant.                     )


       On January 10, 2007, defendant Ricardo Villa Sosa (Sosa), together with his
counsel, Donald B. Fiedler, appeared before the undersigned magistrate judge. Sharon
Spence, a certified interpreter in the Spanish language, served as the interpreter by remote
telephone hook-up. Sosa was advised of the charges, the penalties and the right to appear
before a United States District Judge.         After orally consenting to proceed before a
magistrate judge, Sosa entered a plea of guilty to Counts I and II of the Indictment.
       After being sworn, Sosa was orally examined by the undersigned magistrate judge
in open court as required by Federal Rule of Criminal Procedure 11. Sosa also was given
the advice required by that Rule. Finally, Sosa was given a full opportunity to address the
court and ask questions.
       Counsel for the government and counsel for Sosa were given the opportunity to
suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was
a factual basis for Sosa’s pleas of guilty to Counts I and II of the Indictment.
       Therefore, I find and conclude that: (1) the pleas are knowing, intelligent, and
voluntary; (2) there is a factual basis for the pleas; (3) the provisions of Rule 11 and any
other provisions of the law governing the submission of guilty pleas have been complied
with; (4) a petition to enter a plea of guilty, on a form approved by the court, was completed
by Sosa, Sosa’s counsel and counsel for the government, and such petition was placed in
the court file (Filing No. 89); (5) the plea agreement is in writing and is filed in the court file
 8:06-cr-00271-LSC-TDT        Doc # 97      Filed: 01/10/07    Page 2 of 2 - Page ID # 244




(Filing No. 90); (6) there were no other agreements or stipulations other than as contained
in the written plea agreement.


        IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
        1.    She accept the guilty pleas and find the defendant, Ricardo Villa Sosa, guilty
of the crimes set forth in Counts I and II of the Indictment to which Sosa tendered a guilty
plea;
        2.    She accept the written plea agreement with the understanding that the court
is not bound by the parties’ stipulations, but may with the aid of the presentence report,
determine the facts relevant to sentencing.


                                       ADMONITION
        Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) days after being served with a copy of
this Report and Recommendation. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
        DATED this 10th day of January, 2007.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge




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